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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARIAH BRYANT                                        Civil Action No.:
                                                     1:20-CV-03916-JPB-CCB
     Plaintiff,

v.                                                   JURY TRIAL DEMANDED

PUBLIX SUPER MARKETS, INC. and
ROBERT HENDERSON;

     Defendants.


                  CONSENT MOTION FOR SERVICE OF PROCESS
                        BY UNITED STATES MARSHAL

        Plaintiff Mariah Bryant (“Plaintiff”) hereby moves this Court, pursuant to

Rule 4(c)(3) of the Federal Rules of Civil Procedure, for an order directing that

service of the Summons and First Amended Complaint be made by the United

States Marshal upon Defendant Robert Henderson. In support of this motion,

Plaintiff respectfully states as follows:

        1. On June 2, 2020, Plaintiff filed her Complaint before the Superior Court

of Fulton County Georgia alleging claims under Georgia law. [Doc.1-1]

        2. On September 21, 2020, Defendant Publix Super Markets, Inc. filed a
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Notice of Removal of Plaintiff’s Superior Court Action, asserting that the action is

subject to removal pursuant to 28 U.S.C. §§1332, 1441, and 1446. [Doc. 1.]

        3. To perfect service on Defendant Robert Henderson, Plaintiff engaged

Reginald Walker at Dominion Servers, 270 Cobb Pkwy. S. Ste. 140 #164,

Marietta, Ga. 30060. To date, Walker has attempted service at multiple addresses

believed to be either Henderson’s home or work address, but has thus far been

unsuccessful in serving Defendant Henderson. [See Declaration of Ian Smith, Doc.

20-1, ¶ 4.]

        4. Based on information obtained during Plaintiff’s counsel’s investigation

of Defendant Henderson, Plaintiff contends Henderson is employed full-time as a

Contact Representative with the Internal Revenue Service (“IRS”) in the Atlanta

Metropolitan Area. [Id. ¶ 5.] Defendant Publix Super Markets, Inc.’s investigation

shows Henderson resides in Alabama.

        5. The IRS has two offices in the metropolitan Atlanta area: (1) 2888

Woodcock Blvd., Atlanta, Georgia 30341 and (2) 401 W. Peachtree St. NW,

Atlanta, Georgia 30308. Mr. Henderson may be found at one of these offices. [Id.

¶ 6.]

        6. Plaintiff’s process server has attempted service at both addresses, but his



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efforts have thus far been thwarted by security protocols in place at both locations.

[Id.]

        7. The United States Marshal, or one of his Deputies, would be able to

proceed beyond the security barriers and perfect service on Defendant Henderson.

        8. “At the plaintiff’s request, the Court may order that service be made by a

United States marshal or deputy marshal.”          Fed. R. Civ. P. 4(c)(3); Dunn v.

Federal Express, Civ. Act. No. 1:14-cv-00609-WSD (N.D. Ga. March 14, 2014).

        9.        Counsel for the Parties have conferred on this Motion and Defendant

Publix Super Markets, Inc. consents to the relief requested.

        10.     Plaintiff will pay the United States Marshal’s usual and customary cost

to effect service on Defendant Henderson at one or both of the addresses set forth

in paragraph 5, supra.

        Accordingly, Plaintiff respectfully requests this Court issue an Order

directing the United States Marshal to serve the Summons and First Amended

Complaint on Defendant Robert Henderson at one or both of the Internal Revenue

Service offices in the Metropolitan Atlanta area.

        A proposed order and a copy of Summons and First Amended Complaint are

attached for the Court’s convenience.



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Respectfully submitted, this 18th day of November, 2020.

                                     BARRETT & FARAHANY

                                     s/ Ian E. Smith
                                     Ian E. Smith
                                     Georgia Bar No. 661492
                                     1100 Peachtree Street, Suite 500
                                     Atlanta, GA 30309
                                     (404) 214-0120
                                     iesmith@justiceatwork.com

                                     Counsel for Plaintiff




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARIAH BRYANT                                      Civil Action No.:
                                                   1:20-CV-03916-JPB-CCB
     Plaintiff,

v.                                                 JURY TRIAL DEMANDED

PUBLIX SUPER MARKETS, INC. and
ROBERT HENDERSON;

     Defendants.


                          CERTIFICATE OF SERVICE

        I hereby certify that on this day I filed the foregoing CONSENT MOTION

FOR SERVICE OF PROCESS BY UNITED STATES MARSHAL with the Clerk of

Court using the Court’s CM/ECF filing system, which will send electronic

notification to all counsel of record.

        This 18th day of November, 2020.

                                                  s/Ian E. Smith
                                                   Ian E. Smith
                                                   Georgia Bar No. 661492




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARIAH BRYANT                                      Civil Action No.:
                                                   1:20-CV-03916-JPB-CCB
     Plaintiff,

v.                                                 JURY TRIAL DEMANDED

PUBLIX SUPER MARKETS, INC. and
ROBERT HENDERSON;

     Defendants.


                                [PROPOSED] ORDER

        This matter comes before the Court on the Consent Motion For Service of

Process by United States Marshal. Having considered the Motion in its entirety

and the finding the premises on which the motion is based proper, the United

States Marshal is hereby directed to attempt service of the Summons and First

Amended Complaint on Robert Henderson at one or both of the following

addresses:

     Internal Revenue Service
     2888 Woodcock Blvd
     Atlanta, Georgia 30341

     Internal Revenue Service
     401 West Peachtree Street NW
     Atlanta, Georgia 30308
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SO ORDERED this _____ of November 2020.


                            ______________________________
                            CHRISTOPHER C. BLY
                            MAGISTRATE JUDGE, UNITED STATES
                            DISTRICT COURT




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